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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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KERWIN ROBINSON,

                            Plaintiff,
                                                              JUDGMENT
        - against -                                           CV 18-5248 (JMA)(GRB)

STATE UNIVERSITY OF NEW YORK and
NASSAU COMMUNITY COLLEGE,

                           Defendants.
---------------------------------------------------------X

        An Order of Honorable Joan M. Azrack, United States District Judge, having been filed

on September 16, 2019, dismissing plaintiff’s complaint without prejudice for failure to

prosecute pursuant to Federal Rule of Civil Procedure 41(b), and directing the Clerk of the Court

to close this case, it is

        ORDERED AND ADJUDGED that plaintiff Kerwin Robinson take nothing of

defendants State University of New York and Nassau Community College; that plaintiff’s

complaint is dismissed without prejudice for failure to prosecute; and that this case is closed.


Dated: September 17, 2019
       Central Islip, New York


                                                                    DOUGLAS C. PALMER
                                                                    CLERK OF THE COURT
                                                              BY:   /S/ JAMES J. TORITTO
                                                                    DEPUTY CLERK
